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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                      )
                                                               )                8:07CR99
                           Plaintiff,                          )
                                                               )
         vs.                                                   )                 ORDER
                                                               )
EDGAR CABRERA and                                              )
OMAR MARTINEZ,                                                 )
                                                               )
                           Defendants.                         )


         This matter is before the court on the motion for an extension of time by defendant Edgar Cabrera
(Cabrera) (Filing No. 30). Cabrera seeks an extension of thirty days in which to file pretrial motions pursuant
to paragraph 3 of the progression order (Filing No. 6). Cabrera has filed an affidavit wherein Cabrera consents
to the motion and acknowledges he understands the additional time may be excludable time for the purposes
of the Speedy Trial Act (Filing No. 30). Upon consideration, the motion will be granted and the time to file pretrial

motions will be extended as to both defendants.



         IT IS ORDERED:

         Defendant Cabrera' s motion for an extension of time (Filing No. 30) is granted. All defendants are

given until on or before August 16, 2007, in which to file pretrial motions pursuant to the progression order

(Filing No. 6). The ends of justice have been served by granting such motion and outweigh the interests of the

public and the defendants in a speedy trial. The additional time arising as a result of the granting of the motion,

i.e., the time between July 16, 2007 and August 16, 2007, shall be deemed excludable time in any

computation of time under the requirement of the Speedy Trial Act for the reason defendants’ counsel require
additional time to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).


         DATED this 16th day of July, 2007.
                                                               BY THE COURT:

                                                               s/ Thomas D. Thalken
                                                               United States Magistrate Judge
